




Filed 3/1/17 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2017 ND 41







State of North Dakota, 		Plaintiff and Appellee



v.



Brian Keith Mindt, 		Defendant and Appellant







No. 20160288







Appeal from the District Court of Barnes County, Southeast Judicial District, the Honorable John E. Greenwood, Judge.



AFFIRMED.



Per Curiam.



Lilie A. Schoenack, Assistant State’s Attorney, 230 Fourth St. N.W., Rm. 301, Valley City, ND 58072, for plaintiff and appellee.



Brian Keith Mindt, self-represented, 749 12th St. NW, Valley City, ND 58072, defendant and appellant.

State v. Mindt

No. 20160288



Per Curiam.

[¶1]	Brian Mindt appealed from an order deferring imposition of his sentence for a disorderly conduct charge under N.D.C.C. § 12.1-31-01 after a bench trial, and an order denying his motion for a new trial. &nbsp;We summarily affirm under N.D.R.App.P. 35.1(a)(4).

[¶2]	Gerald W. VandeWalle, C.J.

Lisa Fair McEvers

Daniel J. Crothers

Carol Ronning Kapsner

William a. Neumann, S.J.



[¶3]	The Honorable William A. Neumann, S.J., sitting in place of Tufte, J., disqualified.










































